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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 COLUMBUS LIFE INSURANCE
 COMPANY,
               Plaintiff,
               v.                               No. 1:20-cv-00735-MN-JLH
 WILMINGTON TRUST, N.A., as Securities
 Intermediary,
               Defendant.
 COLUMBUS LIFE INSURANCE
 COMPANY,
               Plaintiff,                       No. 1:20-cv-00736-MN-JLH
               v.
 WILMINGTON TRUST, N.A., as Securities
 Intermediary,
               Defendant.

    COLUMBUS LIFE INSURANCE COMPANY’S RESPONSE TO WILMINGTON
              TRUST’S STATEMENT OF MATERIAL FACTS

       Pursuant to paragraph 9(b) the Rule 16 Scheduling Order (Dkt. 34, Cohen; Dkt. 35,

Romano) and the parties’ stipulation ordered by the Court on March 31, 2022, Plaintiff and

Counterclaim-Defendant Columbus Life Insurance Company (“Columbus Life”) hereby submits

the following Response to the Statement of Material Facts Not in Dispute filed by Defendant and

Counterclaim-Plaintiff Wilmington Trust Company, as Securities Intermediary, (“Wilmington

Trust”) in connection with its Motion for Summary Judgment, pursuant to Rule 56 of the Federal

Rules of Civil Procedure.

       1.     Admitted.

       2.     Denied as stated. Admitted that the Policies insuring the lives of Cohen and

Romano were procured through the KDI/Concordia Program. Denied that Cohen or Romano
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“obtained” the Policies or that the Policies were “their” property. See generally, WT._Op._Br.

(conceded the Policies are void ab initio); Cl._Op._Br. Except as herein admitted, denied.

       3.      Denied as stated. Admitted that Bart Kavanaugh developed the KDI/Concordia

Program and patented a version of it to use insurance trusts to purchase life insurance policies on

the lives of wealthy insureds using non-recourse premium financing and annuities to pay

premiums. Ex. B ¶¶ 4, 6, 11-12 Ex. C at 23-24; Ex. D at 38:2-18, 49:6-17, 69:6-19; Ex. E at 43:7-

44:5, 46:3-5, 47:14-21, 49:9-50:6. Except as herein admitted, denied.

       4.      Denied as stated. Admitted that when an insured passed away, the insured’s

beneficiary could receive              of the death benefit under the KDI/Concordia Program,

depending on when the insured died. Denied that the insured’s beneficiary would always receive

some portion of the death benefit. Ex. U § (V)(A); Ex. Z; Ex. DD § (V)(A); Ex. JJ. Except as

herein admitted, denied.

       5.      Denied as stated. Admitted that a lender might purchase an annuity on the life of

the insured and would fund the premium payments. Further admitted that the lender would receive

between             of the policy’s death benefit upon the death of the insured. Ex. A at 92:16-20,

106:14-22, 107:17-21; Ex. C at 109:8-110:4; Ex. E at 114:23-116:13, 172:13-174:7; Ex. G

§§ 8(b), 9(a); Ex. H §§ 8(b), 9(a); Ex. K at 618; Ex. L at 18683; Ex. Z; Ex. JJ; see generally Ex.

U § (V)(A); Ex. DD § (V)(A). Except as herein admitted, denied.

       6.      Denied as stated. Admitted that Columbus Circle was operated by Kavanaugh,

financed premium payments under the Concordia Program, and was entitled to between

       of the policy’s death benefit upon the death of the insured. Denied that the lender’s

entitlement was “compensation for acting as an interim lender” as the amount it was entitled to

was substantially greater than any amounts owed under the non-recourse premium finance loan.




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Ex. C at 109:8-110:4; Ex. E at 114:23-116:13, 172:13-174:7; Ex. G §§ 8(b), 9(a); Ex. H §§ 8(b),

9(a); Ex. K at 618; Ex. L at 18683; Ex. Z; Ex. JJ; see generally Ex. U § (V)(A); Ex. DD § (V)(A).

Except as herein admitted, denied.

       7.      Denied as stated. Admitted that Cohen and Romano sold the Policies after

Kavanaugh failed to secure long-term financing from an institutional lender. Admitted that the

plan was for the institutional lender to purchase annuities, which it would use as a financing facility

to fund the non-recourse premium finance loans used to pay premiums. Ex. A at 83:10-85:8,

113:16-21, 115:3-13, 132:4-11, 160:17-161:14; Ex. E at 204:9-19; Ex. F at 97:2-11; Ex. Q at 890-

91; Ex. JJ. Except as herein admitted, denied.

       8.      Denied as stated. Admitted that both Columbus Circle and the long-term

institutional lender were entitled to the vast majority of the death benefits and that South Bay

Partners testified that the purpose of the death benefit sweep was to indirectly reimburse the

institutional lender for the cost of the annuity despite the Trusts never borrowing any money to

purchase the annuities. Ex. A at 71:19-72:21; Ex. C at 109:8-110:4; Ex. E at 114:23-116:13,

172:13-174:7; Ex. G §§ 8(b), 9(a); Ex. H §§ 8(b), 9(a); Ex. K at 618; Ex. L at 18683; Ex. Z; Ex.

JJ; see generally Ex. U § (V)(A); Ex. DD § (V)(A). Except as herein admitted, denied.

       9.      Admitted.

       10.     Denied as stated. Admitted that, in late 2003 or early 2004, Ed Leisher and his

associates at Potomac Partners (“Potomac”) did a WebEx presentation about the KDI/Concordia

Program to Columbus Life representatives. Ex. DDD at 33:7-37:4, 124:24-125:15. Except as

admitted, denied.

       11.     Denied as stated. Leisher and Holmwood were broker-general-agents who worked

with insurance brokers to recruit seniors to participate in the KDI/Concordia Program. Admitted




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that those insurance brokers would often recruit potential participants from their pre-existing

clients. Ex. B ¶¶ 4-8; Ex. C at 40:20-41:9. Except as herein admitted, denied.

       12.     Denied as stated. The presentation was a WebEx presentation, not an in-person

meeting. Ex. DDD at 33:7-37:4, 124:24-125:15. Except as herein admitted, denied.

       13.     Admitted.

       14.     Denied as stated. Admitted that Columbus Life learned about the KDI/Concordia

Program at the Potomac presentation, which occurred before any applications were submitted to

Columbus Life and before any policies that were part of the KDI/Concordia Program were

underwritten. Denied that the presentation was at an in-person meeting; it was in a WebEx

presentation. Ex. DDD at 33:7-37:4, 124:24-125:15. Except as herein admitted, denied.

       15.     Denied as stated. Denied that the presentation was at an in-person meeting; it was

in a WebEx presentation. Ex. DDD at 33:7-37:4, 124:24-125:15. Except as herein denied,

admitted.

       16.     Admitted.

       17.     Admitted only that one internal email was sent within Columbus Life requesting

that the group of six policies, which included the Romano policy, be given “the highest priority.”

Columbus Life denies the implication that multiple emails were circulated or that the email reflects

a request that the Romano policy alone be given the “highest priority.” Ex. 25 at 002208. Except

as herein admitted, denied.

       18.     Admitted.

       19.     Admitted.

       20.     Denied as stated. Denied that the referenced documents are stated to be “contracts.”

Except as herein denied, admitted.




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       21.     Admitted. As Columbus Life learned through litigation, however, the explanation

of the KDI/Concordia Program provided to Columbus Life in 2004 was materially incomplete,

incorrect, and misleading.

       22.     Admitted.

       23.     Admitted.

       24.     This paragraph refers to a written document, which speaks for itself. Therefore, no

response is required.

       25.     This paragraph refers to a written document, which speaks for itself. Therefore, no

response is required.

       26.     This paragraph refers to a written document, which speaks for itself. Therefore, no

response is required.

       27.     This paragraph refers to a written document, which speaks for itself. Therefore, no

response is required.

       28.     Denied as stated. Admitted only that a Scheduled Death Benefit chart was attached

to the Participation Agreement and that it showed the portion of the death benefit that the insured’s

beneficiary could receive depending on when the insured passed away, but that the insured also

acknowledged that the insured’s beneficiary could ultimately receive nothing. Ex. G §§ 8(b), 9(a);

Ex. H §§ 8(b), 9(a). Except as herein admitted, denied.

       29.     Admitted that Columbus Life was aware of the sample trust agreement provisions.

Ex. 13 at 4017. To the extent this paragraph refers to a written document, that written document

speaks for itself. Therefore, no response is required. Except as herein admitted, denied.

       30.     Admitted.

       31.     Admitted.




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       32.      Denied as stated. Admitted that Kavanaugh could not secure long-term financing

from an institutional lender and that the testimony has been that the plan was for the institutional

lender to purchase oversized annuities on the lives of the insureds, which it would use to fund the

non-recourse premium finance loans used to pay the life insurance premiums and any excess

annuity income would be retained by the institutional lender. Ex. A at 35:24-36:10; 70:2-22, 82:13-

85:4, 99:21-25, 120:16-121:4, 147:12-16, 180:11-19. Except as herein admitted, denied.

       33.      Admitted.

       34.      Denied as stated. Admitted that the majority of the insureds were presented with

two options once Kavanaugh failed to secure long-term financing: either pay the premiums out of

pocket or sell their beneficial interest certificates in the life insurance trusts to Kavanaugh.

Admitted that                 insureds sold their beneficial interest certificates to Kavanaugh’s

Columbus Circle. Ex. A at 82:13-85:19; 120:16-121:4. Except as herein admitted, denied.

       35.      Denied as stated. Denied that agreements signed on April 14, 2005, were titled

“Authorization to Sell Life Insurance Policy to Pay Off Premium Finance Loan.” The agreements

were actually titled “Authorization to Sell Trust Certificate to Pay Off Premium Finance Loan.”

Admitted that Cohen and Romano both signed Authorization to Sell Trust Certificate to Pay Off

Premium Finance Loan agreements, which sold the beneficial interest certificate in the Trusts to

Columbus Circle in exchange for an amount equal to the Year-1 Scheduled Death Benefit for each

Insured plus a refund of the initial         participation fee. It is further admitted that Columbus

Circle hoped to then sell the beneficial interest certificates in the Trusts for enough money to also

profit on the premium finance loans. Ex. A at 132:4-11, 160:17-161:14; Ex. P at 10-11; Ex. Q at

890-91. Except as herein admitted, denied.




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       36.     Admitted that the Insureds sold the beneficial interest certificates in the Trusts that

owned the Policies. Ex. P; Ex. Q. Except as herein admitted, denied.

       37.     Admitted.

       38.     Denied as stated. Admitted Cohen and Romano both received an amount equal to

their Year-1 Scheduled Death Benefit plus a refund of their initial           participation fee from

the sale of the beneficial interest certificates in the Trusts. Ex. A at 132:4-11, 160:17-161:14; Ex.

P at 10-11; Ex. Q at 890-91; Ex. Z; Ex. JJ. Except as herein admitted, denied.

       39.     Denied as stated. Admitted that, in May 2005, Columbus Life informed producers

that it was not accepting policies if the premiums were funded by non-recourse premium financing

and policies that were taken out for sale on the secondary market. Ex. 32; Ex. 34. Except as herein

admitted, denied.

       40.     Admitted.

       41.     Admitted.

       42.     Admitted.

       43.     Admitted.

       44.     Admitted.

       45.     Denied. The referenced Powerpoint slides do not state “how Potomac—Leisher and

Holmwood’s agency that marketed the KDI/Concordia Program—was connected to a significant

percentage of Columbus Life’s policies on elderly individuals.” Ex. 36.

       46.     Admitted.

       47.     Admitted.

       48.     Admitted.

       49.     Admitted.




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       50.     Admitted.

       51.     Admitted.

       52.     Admitted.

       53.     Admitted in part, and denied in part. Columbus Life admits that it sent letters in

September 2005 in which it stated that it was “further investigating the purpose of insurance

disclosed in the application, as well as the patterns and practices related to this and other insurance

policies.” Columbus Life denies the implication that the letters were addressed to Leisher and

Holmwood. Instead, they were addressed to Erwin & Johnson. Columbus Life admits that the letter

indicates that a copy was sent to Holmwood (but do not indicate that they were sent to Leisher).

Ex. 45 at 004383, 004384; Ex. 46 at 004349. Columbus Life denies that the letters Wilmington

Trust cites were sent in November or December 2005. The documents Wilmington Trust cites

show a September 2005 date.

       54.     Admitted in part, and denied in part. Columbus Life admits that, in response to a

correspondence from Columbus Life, Holmwood sent Columbus Life a letter dated September 15,

2005 stating that (1) the institutional lender they had previously used for other tranches of the KDI

Plan (AI Credit) was no longer able to provide competitive financing; (2) Holmwood or others

working with her had decided to implement a block of policies through interim financing, with the

expectation that long-term financing would become available; and (3) once the refinancing efforts

failed, it was decided to sell the policies to a third-party buyer. By way of further response,

Columbus Life denies that the document cited by Wilmington Trust states that the longer-term

financing that was being sought would necessarily be with a different lender; that “the people

running the KDI/Concordia program” decided to implement interim financing; or that the insureds

were the ones who decided to sell the policies. Ex. 21 at 004290.




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          55.   Denied. Columbus Life denies that the document Wilmington Trust cites makes

any representation as to what the insureds intended. Ex. 21 at 004291.

          56.   Admitted.

          57.   Denied as stated. Noschang testified Columbus Life did not do an insurable interest

review because “the only avenue that we felt as we worked through this that we could do was

material misrepresentation within the contestable period, and as such, we did not do that review.”

Ex. 42 at 81:5–18. Except as herein admitted, denied.

          58.   Denied. Fangman testified that she had no knowledge of any insurable interest

review having been conducted. Ex. 3 at 220:9–223:15, 250:4–251:21. Except as herein admitted,

denied.

          59.   Admitted.

          60.   Denied as stated. Admitted that several employees who appear on emails in the

September 2005 time period are no longer employed by the company Ex. 3 at 265:2–269:20.

Except as herein admitted, denied.

          61.   Denied as stated. Admitted that, in January 2019, Columbus Life’s parent company

Western & Southern Financial Group (“W&S”)—implemented a company-wide document

retention policy that had been adopted in 2016 which, subject to certain exceptions, resulted in

emails prior to January 2016 being purged from the company’s system. Ex. 3 at 259:19–260:16;

Ex. 43; Ex. 44 at 004455–004458. Except as herein admitted, denied.

          62.   Admitted.

          63.   Admitted.

          64.   Admitted.




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          65.   Denied as stated. These reports were designed to capture policies that Columbus

Life believed were either “potential” STOLI policies or “potential” life settlement policies. Ex. 42

at 208:1–17. Except as herein admitted, denied.

          66.   Denied as stated. Admitted that these reports were issued on an annual basis from

2010 through 2014 and that Cohen and Romano Policies appeared on these lists. Ex. 50 at 006537,

006544; Ex. 51 at 008989, 008996; Ex. 52 at 004092, 004099; Ex. 53 at 004979, 004986; Ex. 54

at 005378, 005384; Ex. 42 at 246:13-247:3. Except as herein admitted, denied.

          67.   Admitted.

          68.   Denied as stated. Admitted that, in January 2012, at then-president J.J. Miller’s

request, Columbus Life prepared a report with a different methodology. Denied that it was

“designed to capture STOLI policies.” As Noschang testified, the methodology was not capturing

policies “that are specifically STOLI,” but rather just “tried to identify where . . . the largest

concentration of where STOLI policies could exist are” and that those policies with that criteria

“may or may not be STOLI.” Ex. 42 at 231:17-234:12, 235:10-17. Except as herein admitted,

denied.

          69.   Denied as stated.




                                    . Ex. 55 at 004501-004502.

          70.   Admitted.

          71.   Denied as stated. Noschang did not testify that the company’s attempted tracking

of potential STOLI and potential life settlements was “not worthwhile.” Instead, he testified that

the company stopped generating these lists around 2014 for several reasons: they “were intended




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to be a tool for our marketing group”; “the reports were intended to try and identify producers and

producer groups that had been involved” with potential STOLI and life settlements; “marketing

could use those to determine if they were going to continue to . . . do business or continue to

contract with those individuals”; “we felt that we were . . . stuck with the policies . . . and that we

really couldn’t do anything about them”; and “as time went on, the company put in place a variety

of other . . . measures”—“we changed our application,” “we added questions around life

settlement, all those kinds of things.” Ex. 42 at 246:13–250:12.

       72.     Admitted.

       73.     Admitted.

       74.     Admitted.

       75.     Admitted.

       76.     Admitted.

       77.     Admitted.

       78.     Admitted.

       79.     Admitted.

       80.     Denied as stated. Admitted that, in October 2018, a Columbus Life assistant vice

president named Justin Payne attended an International Claims Association conference which

included a presentation on recent STOLI litigation developments (the “ICA Presentation”) by

Cozen O’Connor— Columbus Life’s counsel in this case. The presentation was not a “marketing

presentation.” Ex. 85 at 28:10–33:16; Ex. 86. Except as herein admitted, denied.

       81.     Denied as stated. The presentation was not a “marketing presentation.” Admitted

that the ICA presentation was on recent STOLI litigation developments including legal decisions

from several jurisdictions that ruled that STOLI policies were illegal human life wagers, void ab




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initio, not subject to the two-year contestability period; and that all or part of premiums could be

retained. Ex. 85 at 52:6–52:15; Ex. 86. Except as herein admitted, denied.

       82.     Admitted.

       83.     Admitted.

       84.     Admitted.

       85.     Admitted.

       86.     Denied as to whether the Portfolio was acquired as part of a UCC sale. To the extent

this paragraph refers to a written document, that document speaks for itself. Therefore, no response

is required. To the extent a response is required, denied.

       87.     Denied as stated. Admitted only that Wilmington Trust, Viva, Preston, and

Blackstone, assert that Preston and Viva’s counsel at Schulte, Roth & Zabel conducted due

diligence on the Portfolio and that the contents of that alleged due diligence have been withheld

from production. Ex. VV Nos. 4-5. Except as herein admitted, denied.

       88.     Admitted in part. Nelson further testified that the data room contained documents

that referenced the existence of the Participation Agreements, Trust Agreements, and the Master

Funding Agreements for the Policies, but that Viva did not try to obtain copies of those documents.

Ex. MM at 123:14-127:17, 128:9-129:9, 130:21-133:3, 134:3-135:18. Denied as to “any

information that would have suggested any issue or challenge to the Policies (had there been any)”

as vague and ambiguous. Ex. MM at 123:14-127:17, 128:9-129:9, 130:21-133:3, 134:3-135:18.

Except as herein admitted, denied.

       89.     Denied as stated. Admitted that Nelson testified that the data room did not contain

copies of the Participation Agreements, Trust Agreements, or the Master Funding Agreements, but

documents contained in the data room referenced the Participation Agreements, Trust Agreements,




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and the Master Funding Agreements, which Viva could have tried to obtain but chose not to even

try. Ex. MM at 123:14-127:17, 128:9-129:9, 130:21-133:3, 134:3-135:18. Except as herein

admitted, denied.

       90.     Admitted.

       91.     Denied as stated. Admitted that Nelson testified that Preston and Viva knew the

Policies were procured through premium financing and that such policies were “manufactured,”

not “natural,” and potential STOLI but that Viva did not try to determine whether the financing

was non-recourse (which by 2016 was known to be associated with STOLI) or whether the

Insureds actually paid any premium. Ex. MM at 131:17-132:14, 135:6-18, 154:21-155:3, 170:13-

171:15, 177:24-178:1, 181:18-182:23; Ex. RR. Except as herein admitted, denied.

       92.     Admitted.

       93.     Denied as stated. Maple Life’s representation as to the Policies was based upon

incomplete information, which Wilmington Trust has failed to include, and which was offered as

an alternative to Maple Life’s representation as to other policies in the portfolio that to its

“[k]knowledge, [were] issued to a Person who, under the law of the jurisdiction in which such

Person resided at the time the Policy was issued, is reasonably likely to be found to have met the

prima facie requirements for insurable interest in the life of the Insured at the time the Policy was

issued.” Ex. 112 at 66, 72, 138. Maple Life’s alternative representation states that “Because the

instrument creating the entity to which the Policy was originally issued is not present in the policy

files relating to the Schedule 1 Policies, an evaluation of whether the prima facie terms of the

applicable insurable interest laws were met at the time of policy issuance could not be made;

however, the diligence review of the Policy Documents in such policy files, as well as any other

information reviewed by MLA during its due diligence review did not disclose facts or




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circumstances which, in the commercially reasonable judgment of MLA, would raise a material

question as to whether the prima facie terms of the applicable insurable interest laws were met at

the time of policy issuance.” Ex. 112 at 66, 72, 138. Except as herein admitted, denied.

       94.     Admitted.

Dated: May 31, 2022



                                                     Respectfully submitted,

                                                     /s/ Donald L. Gouge, Jr.
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